          Case 2:13-cv-00580-APG-EJY Document 136 Filed 11/02/20 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 ROBERT NORSOPH,                                            Case No.: 2:13-cv-00580-APG-EJY

 4          Plaintiff                                          Order Continuing Stay of Case

 5 v.                                                                  [ECF No. 133]

 6 RIVERSIDE RESORT AND CASINO, INC.,
   et al.,
 7
           Defendants
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 9         The parties’ request to continue the stay (ECF No. 133) is granted. This case remains

10 stayed while the parties complete the paperwork to document their settlement. By December 22,

11 2020, the parties shall file dismissal papers or a joint status report. The failure to do so may

12 result in dismissal of this case without further notice.

13         Dated: November 2, 2020.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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